                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 1 of 27 Page ID #:1



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                                11                         UNITED STATES DISTRICT COURT
                                12                        CENTRAL DISTRICT OF CALIFORNIA
                                13 ANASTASIA BEJUNE, individually                  Case No.:
                                   and on behalf of all others similarly
                                14 situated,                                       CLASS ACTION
                                15                                                 COMPLAINT FOR VIOLATIONS
                                                         Plaintiff,                OF:
                                16
                                           vs.                                     1) THE ELECTRONIC FUND
                                17                                                    TRANSFER ACT (15 U.S.C. §§
                                                                                      1693, ET SEQ.);
                                18 CASHCALL, INC.,                                 2) THE ROSENTHAL FAIR DEBT
                                                                                      COLLECTION PRACTICES ACT,
                                19                                                    CAL. CIV. CODE §§ 1788, ET
                                                         Defendant.                   SEQ.)
                                20                                                 3) CALIFORNIA’S UNFAIR
                                                                                      COMPETITION LAW (CAL. BUS.
                                21                                                    & PROF. CODE. §§ 17200, ET
                                                                                      SEQ.);
                                22                                                 4) CALIFORNIA’S CONSUMER
                                                                                      LEGAL REMEDIES ACT (CAL.
                                23                                                    CIV. CODE §§ 1750, ET SEQ.);
                                                                                      AND
                                24                                                 5) NEGLIGENCE
                                25                                                 JURY TRIAL DEMANDED
                                26

                                27 //

                                28 //

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                                                                      CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 2 of 27 Page ID #:2



                                 1                                             INTRODUCTION
                                 2 1. The California legislature has determined that the banking and credit system and

                                 3         grantors of credit to consumers are dependent upon the collection of just and
                                 4         owing debts and that unfair or deceptive collection practices undermine the public
                                 5         confidence that is essential to the continued functioning of the banking and credit
                                 6         system and sound extensions of credit to consumers. The Legislature has further
                                 7         determined that there is a need to ensure that debt collectors exercise this
                                 8         responsibility with fairness, honesty, and due regard for the debtor’s rights and
                                 9         that debt collectors must be prohibited from engaging in unfair or deceptive acts
                                10         or practices.1
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                                11 2. Plaintiff ANASTASIA BEJUNE (“Plaintiff”), individually and on behalf of all

                                12         others similarly situated, bring this class action against Defendant CASHCALL,
                                13         INC. (“CashCall” or “Defendant”) for damages, injunctive relief, and any other
                                14         available legal or equitable remedies, to protect California consumers, including
                                15         Defendant’s current and potential future customers, from injury as a result of
                                16         Defendant’s excessive and unconscionable interest rates, loan agreements, and
                                17         lending policies, and to obtain restitution and recompense for consumers who are
                                18         currently or previously were personal loan customers of Defendant.
                                19 3. Defendant’s business model is to charge exorbitantly high and unconscionable

                                20         interest rates, in violation of consumer protection statutes, including (1) The
                                21         Electronic Fund Transfer Act, 15 U.S.C. §§ 1693, et seq.; (2) The Rosenthal Fair
                                22         Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq.; (3) California’s
                                23         Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq.;
                                24         (4) California’s Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq.;
                                25         and (5) Negligence. This conduct caused damages to Plaintiff and others similarly
                                26         situated, and requires restitution and injunctive relief to remedy and prevent
                                27

                                28
                                     1   Cal. Civ. Code §§ 1788.1 (a)-(b)
                                                                                      -2-
                                                                            CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 3 of 27 Page ID #:3



                                 1     further harm. Plaintiff seeks disgorgement of ill-gotten profits, statutory damages,
                                 2     punitive damages, public injunctive relief, and attorney’s fees and costs.
                                 3 4. Plaintiff makes these allegations on information and belief, with the exception of

                                 4     those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which Plaintiff
                                 5     alleges on personal knowledge.
                                 6 5. While many violations are described below with specificity, this Complaint

                                 7     alleges violations of the statutes cited in their entirety.
                                 8 6. Unless otherwise stated, Plaintiff alleges that any violations by Defendant was

                                 9     knowing and intentional, and that Defendant did not maintain procedures
                                10     reasonably adapted to avoid any such violations.
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                                11 7. Unless otherwise indicated, the use of Defendant’s name in this Complaint

                                12     includes all agents, employees, officers, members, directors, heirs, successors,
                                13     assigns, principals, trustees, sureties, subrogates, representatives and insurers of
                                14     Defendant.
                                15                                  JURISDICTION AND VENUE
                                16 8. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 15

                                17     U.S.C. §§ 1693, et seq. because this action arises from violations of federal law.
                                18     In addition, this Court has supplemental jurisdiction over Plaintiff’s state law and
                                19     common law claims pursuant to 28 U.S.C. § 1367.
                                20 9. As mentioned above, this action arises out of Defendant’s violations of (1) The

                                21     Electronic Fund Transfer Act (“EFTA”), 15 U.S.C. §§ 1693, et seq.; (2) The
                                22     Rosenthal Fair Debt Collection Practices Act (“Rosenthal Act” or “RFDCPA”),
                                23     Cal. Civ. Code §§ 1788, et seq.; (3) California’s Unfair Competition Law
                                24     (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (4) The Consumer Legal
                                25     Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq.; and (5) Negligence.
                                26 10. Because Defendant is a California corporation and conducts business in the State

                                27     of California, personal jurisdiction is established.
                                28 11. Venue is proper in the United States District Court for the Central District of

                                                                              -3-
                                                                    CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 4 of 27 Page ID #:4



                                 1     California pursuant to 28 U.S.C. § 1391 for the following reasons: (i) Plaintiff
                                 2     resides in the city County of Huntington Beach, State of California which is
                                 3     within this judicial district; (ii) the conduct complained of herein occurred within
                                 4     this judicial district; and, (iii) many of the acts and transactions giving rise to this
                                 5     action occurred in this district because Defendant:
                                 6           a) is authorized to conduct business in this district and has intentionally
                                 7              availed itself of the laws and markets within this district;
                                 8           b) does substantial business within this district;
                                 9           c) is subject to personal jurisdiction in this district because it has availed
                                10              itself of the laws and markets within this district; and,
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                                11           d) the harm to Plaintiff occurred within this district.
                                12                                         PARTIES
                                13 12. Plaintiff is a natural person residing in the City of Huntington Beach, County of

                                14     Orange, State of California. Plaintiff is a California consumer who borrowed
                                15     money from Defendant in the County of Orange, State of California, for personal,
                                16     family, or household purposes. Accordingly, Plaintiff is a “consumer” as that
                                17     term is defined by 15 U.S.C. § 1692a(3). Plaintiff is a person from whom
                                18     Defendant, a debt collector, sought to collect a consumer debt which was due and
                                19     owing or alleged to be due and owing from Plaintiff, and is a “debtor” as that
                                20     term is defined by California Civil Code § 1788.2(h).
                                21 13. Defendant is a corporation that is organized and exists under the laws of the State

                                22     of California with a principal place of business located at 1 City Boulevard West,
                                23     Suite 102, Orange, California 92868.
                                24 14. Defendant is a lender that offers high-interest unsecured personal loans ranging

                                25     from $2,600 to $10,600 to qualified borrowers who typically use the loans for
                                26     one-time purchases and debt consolidation, via the internet, phone, and fax, which
                                27     are repaid to Defendant in monthly installments. Defendant’s application process
                                28

                                                                              -4-
                                                                    CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 5 of 27 Page ID #:5



                                 1        “takes 5 minutes to complete”2 and if approved, the funds are transferred to the
                                 2        borrower’s account in as little as four (4) hours.3
                                 3 15. Defendant offers California loans pursuant to California Department of Business

                                 4        Oversight Financing Law License 603-8780.             Defendant is licensed by the
                                 5        California Department of Corporations as a California Finance Lender subject to
                                 6        the Cal. Fin. Code §§ 22000, et seq.
                                 7 16. Defendant was allegedly owed a monetary debt by Plaintiff, which makes

                                 8        Defendant a “creditor” under California Civil Code § 1788.2(i) of the RFDCPA.
                                 9        Defendant is one who regularly collects or attempts to collect, directly or
                                10        indirectly, debts from its current and/or former members on Defendant’s own
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                                11        behalf, and is therefore a “debt collector” within the meaning of California Civil
                                12        Code § 1788.2(c) and 15 U.S.C. § 1692a(6), and thereby engages in “debt
                                13        collection” within the meaning of California Civil Code § 1788.2(b).
                                14 17. This case involves money, property or their equivalent, due or owing or alleged to

                                15        be due or owing from a natural person by reason of a consumer credit transaction.
                                16        As such, this action arises out of a “consumer debt” and “consumer credit” as
                                17        those terms are defined by Cal. Civ. Code § 1788.2(f) and a “debt” as that term is
                                18        defined by 15 U.S.C. 1692a(5).
                                19                                      FACTUAL ALLEGATIONS
                                20 18. Plaintiff re-alleges and incorporates by reference all of the above paragraphs of

                                21         this Complaint as though fully stated herein.
                                22 19. Defendant provides loans to consumers, including to California consumers, who

                                23         have limited credit opportunities and provides funding to consumers subject to
                                24         loan terms that most consumers are unable to repay in full. The result of this
                                25         practice is that the vast majority of the loans made by Defendant are essentially
                                26         “interest only” loans which require consumers to pay Defendant extremely high
                                27

                                28   2
                                         https://www.cashcall.com/faq#A4
                                     3
                                         https://www.cashcall.com/aboutus
                                                                                 -5-
                                                                       CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 6 of 27 Page ID #:6



                                 1     interest charge for several years without any significant reduction in their loan
                                 2     balances, often subjecting these consumers to default and additional charges and
                                 3     penalties.
                                 4 20. Defendant engages in widespread advertising and marketing via print media,

                                 5     internet advertisements, television, and radio, which is heavily aimed at financial
                                 6     strapped and financially desperate consumers who have limited credit alternatives
                                 7     and are financially unable to repay Defendant’s loans within a reasonable time
                                 8     period without defaulting. As the consumer’s loan term progresses, Defendant
                                 9     reaps significant profits by collecting on its exorbitant interest rate and increases
                                10     its customers’ loan balances by tacking on fees such as late fees and insufficient
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                                11     fund charges (NSF fees), while consumers are unable to effectively decrease the
                                12     principal balance on the loan. In turn, when a customer falls behind in payments,
                                13     Defendant aggressively pursues coercive collection efforts, keeping the customer
                                14     paying with no end in sight while forcing the consumer into greater debt as the
                                15     consumer’s loan balance continues to increase exponentially despite the
                                16     consumer’s payments.
                                17 21. The typical consumer is unlikely to be aware that the Annual Percentage Rate

                                18     (“APR”) charged by Defendant is excessive, unconscionable, and/or prohibited
                                19     by California law.
                                20 22. Defendant lends to consumers over the internet via an application process that

                                21     only “takes 5 minutes to complete,” requiring consumers to apply for and execute
                                22     loan documents electronically without providing the consumer the option paper
                                23     applications or disclosures.
                                24 23. The CashCall Promissory Note and Disclosure Statement (“Promissory Note” or

                                25     “Note”) presented to and presented to Plaintiff and similarly situated consumers is
                                26     a form document prepared exclusively by Defendant and offered on a take-it-or-
                                27     leave-it basis. Given the disproportionate bargaining position of an ordinary
                                28     consumer like Plaintiff and similarly situated consumers relative to Defendant,
                                                                                -6-
                                                                      CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 7 of 27 Page ID #:7



                                 1     there is no opportunity for negotiation or explanation of the terms of the Note
                                 2     prior to obtaining the loan from Defendant.
                                 3 24. The Promissory Note presented by Defendant to Plaintiff and similarly situated

                                 4     consumers is a contract of adhesion that is subject to heightened scrutiny under
                                 5     applicable California and federal law, because it was drafted by Defendant, the
                                 6     party in a position of superior bargaining strength, and it was imposed upon
                                 7     Plaintiff without the opportunity to negotiate any terms.
                                 8 25. On or about January 29, 2018, Plaintiff was presented a Promissory Note and

                                 9     Disclosure by Defendant, which provided that Defendant would loan $3,025.00 to
                                10     Plaintiff at an Annual Percentage Rate (APR) of 138.34%, resulting in a Finance
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                                11     Charge of $13,499.48 over the duration of the Note, ultimately requiring Plaintiff
                                12     to repay a minimum of $16,524.48 for the loan of $3,025.00, assuming all
                                13     payments were made according to the payment schedule prepared by Defendant.
                                14 26. These financial obligations that Plaintiff incurred to Defendant, the original

                                15     creditor, were money, property, or their equivalent, which is due or owing, or
                                16     alleged to be due or owing, from a natural person to another person and were
                                17     therefore a “debt” as that term is defined by California Civil Code §1788.2(d),
                                18     and a “consumer debt” as that term is defined by California Civil Code §1788.2(f)
                                19     and 15 U.S.C. § 1692a(5).
                                20 27. Defendant intentionally made the terms of Plaintiff and similarly situated

                                21     consumers’ loans so onerous that they would be beyond any reasonable ability to
                                22     repay the amount borrowed, as the Promissory Note required
                                23 28. Defendant swiftly presented the terms of the Promissory Note to Plaintiff online,

                                24     viewable only via a computer screen, without clearly and conspicuously
                                25     presenting the salient terms of the loan, and without any meaningful or reasonable
                                26     opportunity for Plaintiff to review and negotiate the Note’s terms. The
                                27     Promissory Note was only provided to Plaintiff and similarly situated consumers
                                28     upon the final signing. A reasonable consumer in a similar situation would not
                                                                             -7-
                                                                   CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 8 of 27 Page ID #:8



                                 1     understand the interest and penalty provisions by virtue of the method Defendant
                                 2     uses to present such provisions. Defendant’s business practice is to present the
                                 3     information briefly and limited to the internet browser window on Plaintiff and
                                 4     similarly situated consumers’ computer, tablet, and/or cellular telephone,
                                 5     intending to disguise the terms of Defendant’s loans and depriving Plaintiff and
                                 6     similarly situated consumers of a fair opportunity to fully review the documents
                                 7     as a borrower ordinarily would be if presented with a loan application in a paper
                                 8     format.
                                 9 29. Defendant’s presentation of the Promissory Note and Disclosure Statement via

                                10     the internet browser window on Plaintiff and similarly situated consumers’
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                                11     computer, tablet, and/or cellular telephone does not make clear or emphasize to
                                12     Plaintiff and similarly situated consumers the amount of interest alone that the
                                13     consumer is required to pay – which could be more than five times the amount of
                                14     the loan the consumer receives from Defendant – or the length of the loan term
                                15     and that the majority of the monthly payments required to be made to Defendant
                                16     are effectively interest only, without any appreciable reduction of the principal
                                17     amount of the loan until several years of payments have been made to Defendant.
                                18 30. Defendant’s interest rates of 90% or more for Plaintiff and similarly situated

                                19     consumers who took out loans from CashCall for the amount of $2,500 or more is
                                20     overly harsh, unduly oppressive, unconscionable, and in violation of Cal. Civ.
                                21     Code § 1670.5, Financial Code § 22302, and the UCL.
                                22 31. The Promissory Note presented to Plaintiff and similarly situated consumers one-

                                23     sidedly provides only one method of payment, requiring Plaintiff and similarly
                                24     situated consumers to pre-authorize automated clearinghouse (ACH) or electronic
                                25     funds transfer (EFT) from the consumer’s bank account on the due date assigned
                                26     by Defendant. In addition, the Promissory Note presented to Plaintiff and
                                27     similarly situated consumers specifies a day of the month when Defendant is
                                28     allowed to make an electronic funds transfer from the consumer’s account for the
                                                                            -8-
                                                                  CLASS ACTION COMPLAINT
                                Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 9 of 27 Page ID #:9



                                 1     monthly installment payment due on the Note.
                                 2 32. By inserting the above-described provision in the Promissory Note, Defendant

                                 3     engages and continues to engage in the business practice of conditioning the
                                 4     extension of credit on the customer’s repayment by means of preauthorized funds
                                 5     transfers in violation of § 1693k(1) of the Electronic Funds Transfer Act (EFTA).
                                 6 33. Through section 1693k(1) of the EFTA, Congress defined a specific right, which

                                 7     was based on the risk of real harm, and thereby elevated a violation of that right
                                 8     to legally cognizable injury. Specifically, EFTA guaranteed Plaintiff and similarly
                                 9     situated consumers the right to choose their method of repayment to Defendant.
                                10     However, Defendant violated that right by requiring repayment by means of
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                                11     preauthorized funds transfers in violation of § 1693k(1), providing no choice or
                                12     alternative, and thereby subjecting Plaintiff and similarly situated consumers to
                                13     the risks associated with EFT payments.
                                14 34. Despite the date specified on Plaintiff and similarly situated consumers’

                                15     Promissory Note, Defendant initiates and makes electronic funds transfers from
                                16     Plaintiff and similarly situated consumers’ accounts of the monthly installment
                                17     amount and/or other fees and charges on different or later days of the month
                                18     during the same monthly cycle, on days that were not agreed to or authorized by
                                19     Plaintiff and similarly situated consumers.
                                20 35. By initiating EFTs from Plaintiff and similarly situated consumers’ accounts on

                                21     varied days of the month, different than the date stated by Defendant in Plaintiff
                                22     and similarly situated consumers’ Promissory Note, Defendant routinely engages
                                23     in the business practice of making unauthorized electronic funds transfers from
                                24     Plaintiff and similarly situated consumers’ accounts as defined under § 1693a(12)
                                25     of the Electronic Funds Transfer Act (EFTA).
                                26 36. Defendant’s pattern and practice of initiating and making unauthorized EFTs

                                27     from Plaintiff and similarly situated consumers’ accounts on varied days of the
                                28     month results in subjecting Plaintiff and similarly situated consumers to
                                                                            -9-
                                                                  CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 10 of 27 Page ID #:10



                                 1     insufficient funds charges (NSF fees), late charges, and causes Plaintiff and
                                 2     similarly situated consumers to default on monthly payments, to Defendant’s
                                 3     benefit as Defendant obtains the opportunity to compound these additional fees
                                 4     and add additional interest and finance charges to Plaintiff and similarly situated
                                 5     consumers’ balance due on the Note.
                                 6 37. In addition, as a result of Defendant illegally requiring preauthorized funds

                                 7     transfers as the means for repayment in its Promissory Note, and as a result of
                                 8     Defendant including an unlawful and unconscionable interest rate of 90% of
                                 9     higher in borrowers’ Promissory Notes, Plaintiff and other similarly situated
                                10     consumers have incurred and paid unnecessary fees and interest, and have
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                                11     suffered, and continue to suffer damages and injury in fact, including the loss of
                                12     money and/or property.
                                13 38. By independently initiating EFTs from Plaintiff and similarly situated consumers’

                                14     accounts on varied days of the month, different than the due date stated by
                                15     Defendant in Plaintiff and similarly situated consumers’ Promissory Note, and
                                16     unfairly imposing late fees and NSF fees on Plaintiff and similarly situated
                                17     consumers’ accounts, Defendant violated 15 U.S.C. § 1692e by using false,
                                18     deceptive, or misleading misrepresentations or means in connection with the
                                19     collection of a debt from Plaintiffs and similarly situated consumers. This section
                                20     is incorporated in to the RFDCPA through Cal. Civ. Code § 1788.17; therefore,
                                21     Defendant has also violated Cal. Civ. Code § 1788.17 of the RFDCPA.
                                22 39. Through the above-alleged conduct, Defendant also violated § 1692e(2)(A) by

                                23     falsely representing the character, amount or legal status of a debt to Plaintiff and
                                24     similarly situated consumers as Defendant independently initiated EFTs from
                                25     Plaintiff and similarly situated consumers’ accounts on dates different or later
                                26     than the due date stated by Defendant in Plaintiff and similarly situated
                                27     consumers’ Promissory Note, and unfairly charged late fees and NSF fees on
                                28     Plaintiff and similarly situated consumers’ accounts which were not in fact late,
                                                                             - 10 -
                                                                   CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 11 of 27 Page ID #:11



                                 1     as Defendant required preauthorized EFTs on the due date set by Defendant. This
                                 2     section is incorporated in to the RFDCPA through Cal. Civ. Code § 1788.17;
                                 3     therefore, Defendant has also violated Cal. Civ. Code § 1788.17 of the RFDCPA.
                                 4 40. Through the above-alleged conduct, Defendant also violated § 1692e(2)(B) by

                                 5     falsely representing the services rendered or compensation which may lawfully
                                 6     be received by Defendant, as Defendant charged Plaintiff and similarly situated
                                 7     consumers unconscionable interest rates in violation of Cal. Fin. Code § 22303
                                 8     and Cal. Civ. Code § 1670.5, as alleged in greater detail above.           Further,
                                 9     Defendant charged Plaintiff and similarly situated consumers NSF fees and late
                                10     fees which Defendant was not entitled to as Defendant independently initiated
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                                11     EFTs from Plaintiff and similarly situated consumers’ accounts on varied days of
                                12     the month, different and/or later than the due date stated by Defendant in Plaintiff
                                13     and similarly situated consumers’ Promissory Note, in order to unfairly and
                                14     unlawfully impose late fees and NSF fees on Plaintiff and similarly situated
                                15     consumers’ accounts. This section is incorporated in to the RFDCPA through
                                16     Cal. Civ. Code § 1788.17; therefore, Defendant has also violated Cal. Civ. Code
                                17     § 1788.17 of the RFDCPA.
                                18 41. Through the above-alleged conduct, Defendant has used false representations or

                                19     deceptive means to collect or attempt to collect a debt from Plaintiff and similarly
                                20     situated consumers in violation of § 1692e(10). This section is incorporated in to
                                21     the RFDCPA through Cal. Civ. Code § 1788.17; therefore, Defendant has also
                                22     violated Cal. Civ. Code § 1788.17 of the RFDCPA.
                                23 42. Through the above-alleged conduct, Defendant charged Plaintiffs and similarly

                                24     situated consumers illegal and unconscionable interest rates in violation of Cal.
                                25     Fin. Code § 22303 and Cal. Civ. Code § 1670.5, as alleged in greater detail
                                26     above, in violation of § 1692f(1), which prohibits the collection of any amount
                                27     (including any interest, fee, charge, or expense incidental to the principal
                                28     obligation) unless such amount is expressly authorized by the agreement creating
                                                                            - 11 -
                                                                  CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 12 of 27 Page ID #:12



                                 1     the debt or permitted by law. This section is incorporated in to the RFDCPA
                                 2     through Cal. Civ. Code § 1788.17; therefore, Defendant has also violated Cal.
                                 3     Civ. Code § 1788.17 of the RFDCPA.
                                 4 43. Through the above-alleged conduct, Defendant has used unfair or unconscionable

                                 5     means to collect or attempt to collect a debt from Plaintiff and similarly situated
                                 6     consumers in violation of § 1692f. This section is incorporated in to the RFDCPA
                                 7     through Cal. Civ. Code § 1788.17; therefore, Defendant has also violated Cal.
                                 8     Civ. Code § 1788.17 of the RFDCPA.
                                 9 44. When Plaintiff and similarly situated consumers’ payment due on their loans was

                                10     considered late by Defendant, despite Defendant having acquired required
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                                11     preauthorized funds transfers, without any choice or alternative, before extending
                                12     credit to Plaintiff and similarly situated consumers, Defendant began harassing
                                13     Plaintiff and similarly situated consumers by calling multiple times a day, calling
                                14     Plaintiff and similarly situated persons’ places of employment, communication
                                15     with third parties, and aggressively demanding payment and subjecting Plaintiffs
                                16     and similarly situated consumers to intimidation and harassment in order to
                                17     coerce payment from Plaintiff and similarly situated consumers. Through this
                                18     conduct, Defendant violated § 1692d by engaging in conduct the natural
                                19     consequence of which is to harass, oppress, or abuse a person in connection with
                                20     the collection of a debt from Plaintiff and similarly situated consumers. This
                                21     section is incorporated in to the RFDCPA through Cal. Civ. Code § 1788.17;
                                22     therefore, Defendant has also violated Cal. Civ. Code § 1788.17 of the RFDCPA.
                                23 45. Through the above-alleged conduct, Defendant has engaged in conduct which

                                24     constitutes numerous violations of the RFDCPA, Cal. Civ. Code §§ 1788, et seq.
                                25 46. As a result of Defendant’s unfair, oppressive, and abusive conduct in connection

                                26     with its debt collection activity, Plaintiff has suffered monetary harm, as well as
                                27     mental anguish by way of embarrassment, shame, anxiety, fear, and feelings of
                                28     despair over Defendant’s threats and false and misleading representations to
                                                                            - 12 -
                                                                  CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 13 of 27 Page ID #:13



                                 1     Plaintiff in violation of the RFDCPA, as alleged in greater detail above.
                                 2 47. This action seeks, among other things, statutory damages, monetary, equitable

                                 3     and injunctive relief; restitution of all amounts illegally retained by Defendant;
                                 4     punitive damages, and disgorgement of all ill-gotten profits from Defendant’s
                                 5     wrongdoing alleged herein.
                                 6                         CLASS ACTION ALLEGATIONS
                                 7 48. Plaintiff realleges and incorporates by reference all of the above paragraphs of

                                 8     this Complaint as though fully stated herein.
                                 9 49. Plaintiff and the members of the Class have all suffered an injury in fact as a

                                10     result of the Defendant’s unlawful conduct.
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                                11 50. Plaintiff brings this action individually and on behalf of all others similarly

                                12     situated against Defendant, pursuant to Federal Rules of Civil Procedure, Rules
                                13     23(a), 23(b)(1), 23(b)(2) and 23(b)(3).
                                14 51. Plaintiff represents and is a member of the two proposed classes (“Class A” and

                                15     “Class B”).
                                16              Class A consists of:
                                17              All persons in the United States who Defendant presented a
                                18
                                                Promissory Note and Disclosure Statement which included
                                                language requiring repayment by means of preauthorized
                                19              automatic clearing house (ACH) or electronic funds
                                20              transfers (EFT) payments within the four (4) years
                                                preceding the filing of the Complaint in this action.
                                21

                                22              Class B consists of:
                                                All persons in California who obtained loans from
                                23              Defendant, for an amount of $2,500 or more, which
                                24              included an annual percentage rate (APR) of interest of
                                                90% or higher, within the four (4) years preceding the filing
                                25              of the Complaint in this action.
                                26

                                27

                                28

                                                                              - 13 -
                                                                    CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 14 of 27 Page ID #:14



                                 1 52. Excluded from the Class are Defendant and any of its officers, directors, and

                                 2     employees. Plaintiff reserves the right to modify or amend the Class definition
                                 3     before the Court determines whether certification is appropriate.
                                 4 53. The “Class Period” means four years prior to the filing of the Complaint in this

                                 5     action.
                                 6 54. Ascertainability. Plaintiff does not know the number of members in each Class,

                                 7     but Plaintiff currently believes that there are thousands, if not more, members of
                                 8     each Class within the United States and in the State of California. Because of the
                                 9     nature of Defendant’s services, Defendant must keep detailed and accurate
                                10     records of payments and servicing in order to accurately and effectively execute a
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                                11     recall if so ordered. Therefore, the members of each Class are ascertainable
                                12     through Defendant’s records and/or Defendant’s agents’ customer records as well
                                13     as through public notice. This matter should therefore be certified as a Class
                                14     Action to assist in the expeditious litigation of this matter.
                                15 55. Numerosity. The numerosity requirement of Fed. R. Civ. P. Rule 23(a)(1) is

                                16     satisfied for each aforementioned Class because the members of each Class are so
                                17     numerous and geographically disbursed that joinder of each Class members is
                                18     impractical, and the disposition of their claims in a Class Action will provide
                                19     substantial benefits both to the parties and to the court.
                                20 56. Existence and Predominance of Common Questions of Law and Fact. There is

                                21     a well-defined community of interest in the questions of law and fact involved
                                22     affecting the parties to be represented. Common questions of fact and law exist in
                                23     this matter that predominate over questions that may affect individual Class
                                24     members. All members of each aforementioned Class have been subject to the
                                25     same conduct by Defendant and their claims are based on the same standardized
                                26     business practices of Defendant. The common legal and factual questions include,
                                27     but are not limited to, the following:
                                28           a) The nature, scope, and operations of the wrongful practices of
                                                                              - 14 -
                                                                    CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 15 of 27 Page ID #:15



                                 1         Defendant;
                                 2      b) Whether Defendant’s loan agreements, lending policies, and practices
                                 3         violate the Electronic Funds Transfer Act (EFTA);
                                 4      c) Whether Plaintiff and the Class are entitled to the remedies provided
                                 5         under the EFTA;
                                 6      d) Whether Defendant violated the RFDCPA as described herein;
                                 7      e) Whether Plaintiff and the Class are entitled to the remedies provided
                                 8         under the RFDCPA;
                                 9      f) Whether Defendant’s loan agreements, lending policies, and practices
                                10         are procedurally and/or substantively unconscionable, and therefore
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                                11         violate Cal. Civ. Code § 1670.5, Financial Code § 22302, and the UCL;
                                12      g) Whether Defendant engaged in a course of unfair, unlawful, fraudulent,
                                13         and/or pernicious conduct with regard to its loan agreements, lending
                                14         policies, and practices;
                                15      h) Whether Defendant knew or should have known that its Defendant’s
                                16         loan agreements, lending policies, and practices were unfair, and/or
                                17         unlawful;
                                18      i) Whether Plaintiff and the Class are entitled to the remedies provided
                                19         under the UCL;
                                20      j) Whether Defendant violated the CLRA;
                                21      k) Whether Plaintiff and the Class are entitled to the remedies provided
                                22         under the CLRA;
                                23      l) Whether Defendant owed a duty of care to Plaintiff and the Class;
                                24      m) Whether Defendant breached a duty of care owed to Plaintiff and the
                                25         Class;
                                26      n) Whether Defendant harmed Plaintiff and the Class;
                                27      o) Whether Defendant was unjustly enriched by its unlawful and unfair
                                28         business practices;
                                                                        - 15 -
                                                              CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 16 of 27 Page ID #:16



                                 1            p) Whether Plaintiff and the Class are entitled to statutory damages;
                                 2            q) Whether Plaintiff and the Class are entitled to restitution;
                                 3            r) Whether Plaintiff and the Class are entitled to injunctive relief;
                                 4            s) Whether Plaintiff and the Class are entitled to punitive damages; and
                                 5            t) Whether Plaintiff and the Class are entitled to any other remedies.
                                 6 57. Typicality. As a person who was wrongfully charged an unnecessary fee by

                                 7      Defendant or its representatives, Plaintiff is asserting claims that are typical of the
                                 8      Class. Plaintiff’s claims involve the same violations of law by Defendant as other
                                 9      Class members’ claims.       Plaintiff and members of the Class also sustained
                                10      damages arising out of Defendant’s common course of conduct complained
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                                11      herein. Accordingly, Plaintiff satisfies the “typicality” requirement of Fed. R.
                                12      Civ. P., Rule 23(a)(3) with respect to the Class.
                                13 58. Adequacy of Representation. Plaintiff will fairly and adequately represent and

                                14      protect the interests of other members of the Class in that Plaintiff has no interests
                                15      antagonistic to any member of the Class. Further, Plaintiff has retained counsel
                                16      experienced in handling class action claims and claims involving violations of the
                                17      consumer laws, and specifically violations of the California Business and
                                18      Professions Code. Thus, Fed. R. Civ. P., Rule 23(a)(4) is satisfied.
                                19 59. Superiority. A class action is superior to all other available means for the fair and

                                20      efficient adjudication of this controversy. Individualized litigation would create
                                21      the danger of inconsistent and/or contradictory judgments arising from the same
                                22      set of facts. Individualized litigation would also increase the delay and expense to
                                23      all parties and court system and the issues raised by this action. The damages or
                                24      other financial detriment suffered by individual Class members may be relatively
                                25      small compared to the burden and expense that would be entailed by individual
                                26      litigation of the claims against the Defendant. The injury suffered by each
                                27      individual member of the proposed class is relatively small in comparison to the
                                28      burden and expense of individual prosecution of the complex and extensive
                                                                              - 16 -
                                                                    CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 17 of 27 Page ID #:17



                                 1      litigation necessitated by Defendant’s conduct. It would be virtually impossible
                                 2      for members of the proposed Class to individually redress effectively the wrongs
                                 3      to them. Even if the members of the proposed Class could afford such litigation,
                                 4      the court system could not. Individualized litigation increases the delay and
                                 5      expense to all parties, and to the court system, presented by the complex legal and
                                 6      factual issues of the case. By contrast, the class action device presents far fewer
                                 7      management difficulties, and provides the benefits of single adjudication,
                                 8      economy of scale, and comprehensive supervision by a single court. Therefore, a
                                 9      class action is maintainable.
                                10 60. Unless the Class is certified, Defendant will retain monies received as a result of
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                                11      Defendant’s unlawful and deceptive conduct alleged herein. Unless a class-wide
                                12      injunction is issued, Defendant will also likely continue to engage in unlawful
                                13      and misleading business practices, and members of the Class will continue to be
                                14      misled, harmed, and denied their rights under applicable Federal and California
                                15      law.
                                16 61. Further, Defendant has acted or refused to act on grounds that are generally

                                17      applicable to the class so that declaratory and injunctive relief is appropriate to
                                18      the Class as a whole, making class certification appropriate pursuant to Fed. R.
                                19      Civ. P. 23(b)(2).
                                20                                        COUNT I
                                21             VIOLATION OF THE ELECTRONIC FUND TRANSFER ACT
                                22                          15 U.S.C. §§ 1693, ET SEQ. (EFTA)
                                23 62. Plaintiff realleges and incorporates by reference all of the above paragraphs of

                                24      this Complaint as though fully stated herein.
                                25 63. Plaintiff is a “consumer” as that term is defined in 15 U.S.C. § 1693a(3).

                                26 64. Defendant has engaged and continues to engage in the business practice of

                                27      conditioning the extension of credit, such as the loans at issue herein, on the
                                28

                                                                              - 17 -
                                                                    CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 18 of 27 Page ID #:18



                                 1      customer’s authorization to make payments by preauthorized electronic fund
                                 2      transfers from the customer’s bank account.
                                 3 65. Section 1693k(1) of EFTA provides in pertinent part that “[n]o person may . . .

                                 4      condition the extension of credit to a consumer on such consumer’s repayment by
                                 5      means of preauthorized electronic fund transfers.”
                                 6 66. Defendant’s practice of conditioning the extension of credit to consumers on the

                                 7      consumer’s preauthorization of electronic debiting payments falls under the plain
                                 8      language of this provision of EFTA, violates Plaintiff and similarly situated
                                 9      consumers’ right to their choice of means of repayment in alternative to
                                10      preauthorized EFT payments, and caused Plaintiff and similarly situated
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                                11      consumers to be exposed to the risks and harm associated with EFT payments.
                                12 67. In addition, Defendant routinely engages in the business practice of making

                                13      unauthorized electronic funds transfers (EFTs), as defined under § 1693a(12), by
                                14      initiating EFTs from Plaintiff and similarly situated consumers’ accounts on
                                15      varied days of the month, different than the due date stated by Defendant in
                                16      Plaintiff and similarly situated consumers’ Promissory Note.
                                17 68. As a direct and proximate result of these violations, Plaintiff was and continues to

                                18      be damaged in an amount according to proof, including, without limitation,
                                19      statutory damages and actual damages, such as payments of NSF fees, late ffees,
                                20      interest and other charges collected by Defendant, and emotion distress damages.
                                21 69. Pursuant to 15 U.S.C. § 1693m of the EFTA, Plaintiff and the Class are entitled

                                22      to recover actual damages sustained as a result of these EFTA violations,
                                23      statutory damages, and attorney’s fees and costs
                                24                                       COUNT II
                                25                     VIOLATIONS OF THE ROSENTHAL ACT
                                26                          CAL. CIV. CODE §§ 1788, ET SEQ.
                                27 70. Plaintiff realleges and incorporates by reference all of the above paragraphs of

                                28      this Complaint as though fully stated herein.
                                                                             - 18 -
                                                                   CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 19 of 27 Page ID #:19



                                 1 71. The Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq.

                                 2      (“Rosenthal Act” or “RFDCPA”), prohibits unfair and deceptive acts and
                                 3      practices in connection with the collection of consumer debts.
                                 4 72. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

                                 5     though fully stated herein.
                                 6 73. The foregoing acts and omissions constitute numerous and multiple violations of

                                 7     the RFDCPA.
                                 8 74. As a result of each and every violation of the RFDCPA, Plaintiff and each

                                 9     member of the Class is entitled to any actual damages pursuant to Cal. Civ. Code
                                10     § 1788.30(a); statutory damages of up to $1,000.00 pursuant to Cal. Civ. Code §
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                                11     1788.30(b); and reasonable attorney’s fees and costs of litigation pursuant to Cal.
                                12     Civ. Code § 1788.30(c) from Defendant.
                                13                                        COUNT III
                                14       VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
                                15                   CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
                                16 75. Plaintiff realleges and incorporates by reference all of the above paragraphs of

                                17      this Complaint as though fully stated herein.
                                18 76. Plaintiff and Defendant are each “person(s)” as that term is defined by Cal. Bus.

                                19     & Prof. Code § 17201. Cal. Bus & Prof. Code § 17204 authorizes a private right
                                20     of action on both an individual and representative basis.
                                21 77. Cal. Bus. & Prof. Code § 17204, a provision of the UCL, confers standing to

                                22     prosecute actions for relief not only on the public officials named therein, but on
                                23     private individuals, i.e., “any person acting for the interests of itself, its members
                                24     or the general public.” Thus, a private Plaintiff who has suffered a financial injury
                                25     may sue to obtain relief for others.
                                26 78. “Unfair competition” is defined by Cal. Bus. & Prof. Code § 17200. The term

                                27     “unfair competition” encompasses several types of business “wrongs,” including:
                                28     (1) an “unlawful” business act or practice, (2) an “unfair” business act or practice,
                                                                               - 19 -
                                                                     CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 20 of 27 Page ID #:20



                                 1     (3) a “fraudulent” business act or practice, and (4) “unfair, deceptive, untrue or
                                 2     misleading advertising.” The definitions in § 17200 are drafted in the disjunctive,
                                 3     meaning that each of these “wrongs” operates independently from the others, and
                                 4     their remedies are cumulative of each other as well as those available under all
                                 5     other laws. See Cal. Bus. & Prof. Code § 17205.
                                 6 79. An “injunction” is “the primary form of relief available under the UCL to protect

                                 7     consumers from unfair business practices.” In re Tobacco II Cases, 46 Cal. 4th
                                 8     298, 319 (2009); see also Clayworth v. Pfizer, Inc., 49 Cal. 4th 758, 789 (2010)
                                 9     (“[i]f a party has standing under” the UCL, “it may seek injunctive relief”).
                                10 80. By and through Defendant’s conduct alleged in further detail hereinabove and
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                                11     hereinbelow, Defendant is liable to the Plaintiff and the Class for violations of the
                                12     UCL’s “unlawful” prong and its “unfair” prong.
                                13                                  A. “Unlawful” Prong
                                14 81. As a result of Defendant’s acts and practices described herein, Defendant has

                                15     violated the UCL, which provides a cause of action for an “unlawful” business act
                                16     or practice perpetrated on consumers.
                                17 82. By knowingly and intentionally issuing loans at interest rates that are

                                18     unconscionable, and objectively unreasonable, Defendant has routinely engaged
                                19     in unlawful business practices in violation of Federal and California state laws
                                20     governing lending practices in California, including, but not limited to, the EFTA,
                                21     the RFDPCA, the California Financial Code, and incorporated California Civil
                                22     Code § 1670.5, and California’s Consumer Legal Remedies Act (“CLRA”).
                                23 83. Defendant’s conduct and lending practices constitute violations of Cal. Fin. Code

                                24     § 22303, which incorporates California’s unconscionability statute. See Cal. Civ.
                                25     Code § 1670.5(a) (courts may “limit the application of any unconscionable clause
                                26     as to avoid any unconscionable result”); De La Torre v. Cashcall Inc., No.
                                27     S241434, 2018 Cal. LEXIS 5749, at *43 (Aug. 13, 2018).
                                28 84. Because Defendant’s business entailed violations of both Cal. Fin. Code § 22303

                                                                             - 20 -
                                                                   CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 21 of 27 Page ID #:21



                                 1     and/or Cal. Civ. Code § 1670.5, Defendant violated California’s Unfair
                                 2     Competition Law, Bus. & Prof. Code §§ 17200, et seq., which provides a cause of
                                 3     action for an “unlawful” business act or practice perpetrated on consumers. See
                                 4     Cel-Tech Communications, Inc. v. Los Angeles Cellular Telephone Co., 20
                                 5     Cal.4th 163, 180 (1999)
                                 6 85. Moreover, Defendant’s violations of the EFTA, the RFDCPA, the California

                                 7     Financial Code, Civil Code § 1670.5, and the CLRA, as described in further detail
                                 8     above and below, also trigger liability under the UCL’s “unlawful” prong.
                                 9 86. Defendant had other reasonably available alternatives to further its legitimate

                                10     business interests, other than the conduct described herein.
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                                11 87. Plaintiff suffered actual financial injury in that Plaintiff’s payments made to

                                12     Defendant were for amounts much higher than they would have been but for
                                13     Defendant’s unlawful interest rates, late fees, and NSF fees charged to Plaintiff as
                                14     a result of Defendant’s above-described loan agreements, lending policies, and
                                15     practices.
                                16 88. Plaintiff seeks public injunctive relief to benefit the general public directly by

                                17     bringing an end to Defendant’s unlawful business practices that are currently
                                18     causing damages and continue to threaten future injury to the general public.
                                19                                     B. “Unfair” Prong
                                20 89. Defendant’s actions and business practices constitute an “unfair” business act or

                                21     practice under § 17200 in that Defendant’s conduct is substantially injurious to
                                22     consumers, offends public policy, and is immoral, unethical, oppressive, and
                                23     unscrupulous as the gravity of the conduct outweighs any alleged benefits
                                24     attributable to such conduct.
                                25 90. Without limitation, the business practices described herein are “unfair” and

                                26     “shock the conscience” because they offend established public policy, violate
                                27     California statutory protections, and are objectively immoral, unethical,
                                28     oppressive, unscrupulous and/or substantially injurious to consumers in that
                                                                             - 21 -
                                                                   CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 22 of 27 Page ID #:22



                                 1      Defendant’s conduct caused Plaintiff and the Class Members to incur never-
                                 2      ending debts as a result of an unlawfully, unreasonably, and unconscionably
                                 3      charged interest rate.
                                 4 91. The excessively high APR sought to be collected by or actually charged by

                                 5      Defendant have caused and will continue to cause Plaintiff the general public
                                 6      harm.
                                 7 92. At a date presently unknown to Plaintiff, but at least four years prior to the filing

                                 8      of this action, and as set forth above, Defendant has committed acts of unfair
                                 9      competition as defined by Cal. Bus. & Prof. Code §§ 1700, et seq., as alleged in
                                10      further detail hereinabove and hereinbelow.
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                                11 93. Despite Defendant’s representation that it complies with all federal, state, and

                                12      municipal laws and regulations to ensure that it meets consumer lending needs,
                                13      Defendant enters into loan agreements that require an unconscionable interest rate
                                14      of over 90% in violation of California law.
                                15 94. Alternatively, Defendant engaged in a pattern of “unfair” business practices that

                                16     violate the wording and intent of the abovementioned statute/s by engaging in
                                17     unfair lending and business practices, as alleged above, wherein: (1) the injury to
                                18     the consumer was substantial; (2) the injury was not outweighed by any
                                19     countervailing benefits to consumers or competition; and (3) the injury was not of
                                20     the kind that consumers themselves could not have reasonably avoided.
                                21 95. Plaintiff seeks public injunctive relief to benefit the general public directly by

                                22      bringing an end to Defendant’s unfair business practices that threaten future
                                23      injury to the general public. Specifically, an injunction requiring Defendant to
                                24      immediately cease entering into loan agreements with an APR in excess of 90%
                                25      would benefit the public at large because the public then would not be charged an
                                26      unconscionable APR by Defendant that continues the lifespan of their loans
                                27      throughout perpetuity.
                                28

                                                                              - 22 -
                                                                    CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 23 of 27 Page ID #:23



                                 1                                         COUNT IV
                                 2     VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
                                 3                      CAL. CIV. CODE §§ 1750, ET SEQ. (CLRA)
                                 4 96. Plaintiff re-alleges and incorporates by reference all of the above paragraphs of

                                 5      this Complaint as though fully stated herein.
                                 6 97. California Civil Code §§ 1750 et seq., entitled the Consumers Legal Remedies

                                 7      Act (“CLRA”), provides a list of “unfair or deceptive” practices in a “transaction”
                                 8      relating to the sale of “goods” or “services” to a “consumer.” The Legislature’s
                                 9      intent in promulgating the CLRA is expressed in Civil Code Section 1760, which
                                10      provides, inter alia, that its terms are to be:
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                                11
                                                   Construed liberally and applied to promote its underlying
                                12                 purposes, which are to protect consumers against unfair and
                                13
                                                   deceptive business practices and to provide efficient and
                                                   economical procedures to secure such protection.
                                14
                                     98. Defendant’s loans constitute “services” as defined pursuant to Civil Code Section
                                15
                                        1761(a).
                                16
                                     99. Plaintiff, and the Class members, are each a “consumer” as defined pursuant to
                                17
                                        Civil Code § 1761(d).
                                18
                                     100. Each of Plaintiff’s and the Class members’ loans from Defendant constituted a
                                19
                                        “transaction” as defined pursuant to Civil Code Section 1761(e).
                                20
                                     101. By conditioning the extension of credit, to Plaintiff and similarly situated
                                21
                                        consumers, on repayment by means of preauthorized electronic transfers in
                                22
                                        violation of 15 U.S.C. § 1693k(1)
                                23
                                     102. By including an unconscionably high interest rate in the Promissory Notes
                                24
                                        presented to Plaintiff and similarly situated consumers, Defendant violated Civil
                                25
                                        Code § 1770(a)(19) which provides that it is unlawful to “[i]nsert[] an
                                26
                                        unconscionable provision in [a] contract.”
                                27

                                28

                                                                               - 23 -
                                                                     CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 24 of 27 Page ID #:24



                                 1 103. In addition, by advertising, offering, or selling loans that contain unlawful

                                 2      terms and are illegal under California and/or federal law, Defendant violated
                                 3      Civil Code § 1770(a)(26), which provides that it is unlawful to advertise, over for
                                 4      sale, or sell a financial product that is illegal under state or federal law.
                                 5 104. On information and belief, Defendant’s violations of the CLRA set forth herein

                                 6      were done with awareness of the fact that the conduct alleged was wrongful under
                                 7      California law and was motivated solely for Defendant’s self-interest, pecuniary
                                 8      gain and increased profits.
                                 9 105. Plaintiff further alleges that Defendant committed these acts knowing the harm

                                10      that would result to Plaintiff and Defendant engaged in such unfair and deceptive
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                                11      conduct notwithstanding such knowledge for Defendant’s own benefit.
                                12 106. Plaintiff suffered an “injury in fact” because Plaintiff’s money was taken by

                                13      Defendant, as a result of Defendant’s conduct alleged herein.
                                14 107. As a direct and proximate result of Defendant’s violations of the CLRA, Plaintiff

                                15      and members of the Class are entitled to a declaration that Defendant violated the
                                16      CLRA.
                                17 108. Plaintiff and the Class are also entitled to and do seek injunctive relief prohibiting

                                18      such conduct in the future and to recover money damages.
                                19                                          COUNT V
                                20                                       NEGLIGENCE
                                21 109. Plaintiff re-alleges and incorporates by reference all of the above paragraphs of

                                22      this Complaint as though fully stated herein.
                                23 110. Plaintiff believes and thereon alleges that Defendant owed various duties to

                                24      Plaintiff and to the Class pursuant to the EFTA, the California Financial Code,
                                25      Cal. Civ. Code § 1670.5, the UCL, and the CLRA.
                                26 111. Specifically, Defendant owed a duty to Plaintiff and the Class with regard to its

                                27      manner of lending practices and their effects on consumers.
                                28

                                                                                - 24 -
                                                                      CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 25 of 27 Page ID #:25



                                 1 112. Defendant breached Defendant’s duties by engaging in the acts described herein,

                                 2      each in violation of the statutes at issue herein.
                                 3 113. Plaintiff asserts that Defendant is the actual and legal cause of Plaintiff’s and the

                                 4      similarly situated persons’ injuries.
                                 5 114. Plaintiff believes and thereon alleges that as a proximate result of Defendant’s

                                 6      negligence, Plaintiff has suffered injury.
                                 7 115. Due to the egregious violations alleged herein, Plaintiff asserts that Defendant

                                 8      breached Defendant’s duties in an oppressive, malicious, despicable, gross, and
                                 9      wantonly negligent manner. As such, said conduct establishes Defendant’s
                                10      conscious disregard for the rights of Plaintiff and the Class, and entitles Plaintiff
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     COSTA MESA, CA 92626




                                11      to recover punitive damages from Defendant.
                                12                                 PRAYER FOR RELIEF
                                13        WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff and the
                                14 Class members the following relief against Defendant:

                                15        • That the Court determine that this action may be maintained as a Class
                                16           Action by certifying this case as a Class Action;
                                17        • That the Court certify Plaintiff to serve as the Class representative for both
                                18           classes in this matter;
                                19        • That Plaintiff’s counsel be appointed as Class Counsel
                                20        • That Defendant be enjoined from continuing the wrongful conduct alleged
                                21           herein and required to comply with all applicable laws;
                                22        • That Defendant’s wrongful conduct alleged herein be adjudged and decreed
                                23           to violate the consumer protection statutory claims asserted herein;
                                24                                    COUNT I
                                                VIOLATION OF ELECTRONIC FUNDS TRANSFER ACT (EFTA)
                                25                            15 U.S.C. §§ 1693, ET SEQ.
                                26        • An award of actual damages pursuant to 15 U.S.C. § 1693m(a)(1);
                                27        • An award of statutory damages of no less than $100 nor greater than
                                28            $1,000 pursuant to 15 U.S.C. § 1693m(a)(2)(A) for Plaintiff and each
                                                                                 - 25 -
                                                                       CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 26 of 27 Page ID #:26



                                 1      member of the Class;
                                 2   • An award of costs of litigation and reasonable attorneys’ fees pursuant to
                                 3      15 U.S.C. § 1693m(a)(3);
                                 4   • General and special damages in an amount to proven at trial;
                                 5   • Punitive damages in an amount to proven at trial; and
                                 6   • Any other relief this Court deems just and proper.
                                 7                                COUNT II
                                                   VIOLATION OF ROSENTHAL ACT (RFDCPA)
                                 8                     CAL. CIV. CODE §§ 1788, ET SEQ.
                                 9   • An award of actual damages pursuant actual damages pursuant to Cal. Civ.
                                10      Code § 1788.30(a) for Plaintiff and each member of the Class;
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                                     • An award of statutory damages of up to $1,000.00 pursuant to Cal. Civ.
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                                11

                                12      Code § 1788.30(b) for Plaintiff and each member of the Class;
                                13   • An award of reasonable attorney’s fees and costs of litigation pursuant to
                                14      Cal. Civ. Code § 1788.30(c) to be paid by Defendant; and
                                15   • Any other relief this Court deems just and proper.
                                16                             COUNT III
                                       VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE (UCL)
                                17                    BUS. & PROF. CODE §§17200, ET SEQ.
                                18   • That Plaintiff and each of the other members of the Class recover the
                                19      amounts by which Defendant has been unjustly enriched, plus actual
                                20      damages, punitive damages, and statutory damages;
                                21   • That Defendant be enjoined from continuing the wrongful conduct alleged
                                22      herein and required to comply with all applicable laws;
                                23   • That Plaintiff and each of the other members of the class recover their costs
                                24      of suit, including reasonable attorneys’ fees and expenses pursuant to
                                25      California Code of Civil Procedure § 1021.5;
                                26   • That Plaintiff and the members of the Class be granted any other relief the
                                27      Court may deem just and proper;
                                28

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                                                               CLASS ACTION COMPLAINT
                           Case 8:19-cv-01373-DOC-ADS Document 1 Filed 07/15/19 Page 27 of 27 Page ID #:27



                                 1                                      COUNT IV
                                                VIOLATION OF CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
                                 2                           CAL. CIV. CODE §§ 1750, ET SEQ.
                                 3         • That Defendant be enjoined from continuing the wrongful conduct alleged
                                 4            herein pursuant to Cal. Civ. Code § 1782(d) and required to comply with all
                                 5            applicable laws;
                                 6         • That Plaintiff and each of the other members of the Class recover their costs
                                 7            of suit, including reasonable attorneys’ fees and expenses as provided by law
                                 8         • That Plaintiff and the members of the Class be granted any other relief the
                                 9            Court may deem just and proper.
                                10                                          COUNT V
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                                                                           NEGLIGENCE
     COSTA MESA, CA 92626




                                11
                                           • Compensatory and general damages in an amount to proven at trial;
                                12
                                           • Punitive damages in an amount to proven at trial;
                                13
                                           • Post-judgment interest
                                14
                                           • Costs of suit incurred herein and attorney fees under applicable law; and
                                15
                                           • Any other relief this Court deems just and proper.
                                16
                                                                          TRIAL BY JURY
                                17
                                     116. Pursuant to the Seventh Amendment to the Constitution of the United States of
                                18
                                         America, Plaintiff is entitled to, and demands, a trial by jury.
                                19

                                20
                                      Dated: July 15, 2019                       Respectfully submitted,
                                21
                                                                                 KAZEROUNI LAW GROUP, APC
                                22

                                23
                                                                              By:    s/ Abbas Kazerounian
                                24                                                   ABBAS KAZEROUNIAN, ESQ.
                                                                                     MONA AMINI, ESQ.
                                25                                                   Attorneys for Plaintiff
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                                                                      CLASS ACTION COMPLAINT
